                                              Case 8:18-bk-11027-MGW                 Doc 75     Filed 10/22/21           Page 1 of 1

                                                                                     Form 1                                                                                Page: 1

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         18-11027 MGW                                                              Trustee: (290380)           Stephen L. Meininger
Case Name:           C & B REHAB, LLC                                                          Filed (f) or Converted (c): 05/20/19 (c)
                                                                                               §341(a) Meeting Date:       06/27/19
Period Ending:       09/30/21                                                                  Claims Bar Date:            04/15/19

                                1                                           2                         3                          4                    5                    6

                       Asset Description                                 Petition/            Estimated Net Value             Property           Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned           Received by      Administered (FA)/
                                                                          Values            Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                  Remaining Assets

 1       42.5 ACRES OF LAND WITH HOME AND BARN                          2,200,000.00                   469,540.31                                          0.00                  0.00
           Orig. Description: 42.5 acres of land with home and
         barn, located at 1980 SW 80th Street, Ocala, Florida;
         Imported from original petition Doc# 14

 1       Assets          Totals (Excluding unknown values)             $2,200,000.00                  $469,540.31                                         $0.00                 $0.00


     Major Activities Affecting Case Closing:
              Application To Employ GJB filed on 5/21/19; Order Approving GJB as attorney for Trustee entered on 5/22/19; Motion To Approve Compromise Of Controversy With
              The Debtor, C&B Rehab, LLC And MidCountry Bank filed on 5/31/19; Order Granting Motion To Approve Compromise Of Controversy With The DebtorAnd MidCountry
              Bank (Doc. No. 56) entered on 7/15/19; Application To Approve Employment Of Real Estate Agent filed on 7/15/19; Order Approving Application To Approve
              Employment Of Real Estate Agent entered on 7/18/19; Chapter 7 Trustee's Expedited Motion To Sell Property Of The Estate with Certifciate of Neccesity filed on
              7/29/19; Notice of Hearing filed on 7/31/19 scheduling a hearing on Chapter 7 Trustee's Expedited Motion To Sell Property Of The Estate on 8/7/19; Chapter 7
              Trustee's Motion To Shorten Notice Period Of The Hearing On Chapter 7 Trustee's Expedited Motion To Sell Property Of The Estate filed on 8/1/19; Order Granting
              Chapter 7 Trustee's Motion To Shorten Notice Period Of The Hearing On Chapter 7 Trustee's Expedited Motion To Sell Property Of The Estate entered 8/6/19; Notice
              Of Filing Legal Sketches filed on 8/7/19; Order Granting Chapter 7 Trustee's Expedited Motion To Sell Proeprty Of The Estate (Doc. 62) entered on 8/8/19; Any assets
              of this case are being liquidated through Walhof case;

     Initial Projected Date Of Final Report (TFR): August 31, 2020                         Current Projected Date Of Final Report (TFR): June 30, 2021




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